Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 1 of 14

UNA A

Coast Claims Facil ity .

Claim Number. @agzaazms
e 6. Box 9658
Dublin, OH 43017-4958 Check Number: qqaezai

Check Date: 04/08/12
1-800-916-4893 , Check Amount $25,060.00

Notice of Final Payment Determination

Deer Claimant:

The Gulf Coast Claims Facility (the “SCCP’) is 5 the official way for Individuals and Businesses to file claims for costs 5 and damages incurred a as a oe

result of the oil discharges due to the Deepwater Horizon Incident on April 20, 2010 (the “Oil Spill), The GCCF and its Claims Administrator,
Kenneth R. Feinberg, act for and on behalf of BP Exploration & Production, Inc. (‘BP"} in fulfilling BP’s statutory obligations as a “responsible
party” under the Oil Pollution Act of 1990. You have the right to consult with an attomey of your choosing before accepting any settlement or
signing 2 release of legal rights.

This check represents your Final Payment from the GCCF for damages suffered as a result of the Oil Spill, You signed and submitted a
Release and Covenant Not to Sue (“Release”) in which you waived and released any claims that you have or may have in the future against BP
and all other potentially responsible parties with regard to the Oil Spill (except claims for Bodily Injury or Securities Claim). The GCCF has
accepted your signed Release and your claims with regard ta the Oil Spill against any party (except claims for Bodily Injury or Securities Claim)
are now fully and finally resolved.

This check may be presented at any Banking Institution in the country for payment. However, if you do not have your own bank account at
which you can cash this check, the GCCF has mace arrangements with Whitney Bank and Hancock Bank, which have branches located
throughout the affected region in the Gulf, to assist you. For more information on this check cashing service, please see the enclosed, Notice of
Check Cashing Options For Individuals Who Do Not Have Bank Accounts, along with a list of Whitney Bank and Hancock Bank branches.

The GCCF will report annually to federal and state taxing authorities, using IRS Form 1099 or a state form equivalent, for certain payments
made. Early in the next calendar year, you will receive your copy of that form. The GCCF cannot provide you with tax advice. You should
consult with your own tax advisor to determine the impact of any payments you receive from the GCCF on your individual tax situation.

For assistance or additional information, please visit our website at www. GuifCoastClaimsFacility, corm, of call us toll-free at 1-800-916-4893,
TTY at 1-366-682-1755 or email us at info@accf-claims.com,

Sincerely,
Kenneth R. Feinberg |
Claims Administrator

Gulf Coast Claims Facility

"Gur coet Cainer Feity oo BWarmey Bane
oo. Dublin, OH 43017- 4958 cee CRS a ar Ee
- $-800-816-4899 Ae ee)

8) OSOBAB

Twenty five thousand and 00/100 Dollars’ ~~ -4°§95,000.00

OIBAFTER 180 DAYS;

aw Castlo, De 19720. Bg

"OOSO7535" 803,100 20K 388 287270

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 2 of 14

_ NoTIce OF CHECK CASHING OPTIONS FOR INDIVIDUALS WHO Do NOT HAVE BANK ACCOUNTS |

If you are an Individual whose Claim with the Gulf Coast Claims Facility (“GCCF”) is found eligible for a payment but you do not have a
bank account, the GCCF has made arrangements with Whitney Bank and Hancock Bank (“Whitney/Hancock”) to assist you.
Whitney/Hancock has branches located throughout the affected region of the Gulf.

‘The options contained in this Notice are available only to Individuals and not to Businesses.

With proper government issued photo identification (for example, a driver’s license or passport), an Individual Claimant can go to
any Whitney/Hancock branch to do any of the following, based on the amount of your payment and number of checks you receive:

(1) One Check for $5,000 or less: Whitney/Hancock will cash this check.

(2) One Check for more than $5,000: Whitney/Hancock will cash up to $5,000 of your check in one day. (Whitney/Hancock cannot
guarantee more than $5,000 cash in one day to one Individual Claimant). Whitney/Hancock will give you the balance of your
payment in a fully-negotiable bank check, which you can present at any other banking institution anywhere in the country.

(3) Multiple Checks if Payment is for more than $5,000. Whitney/Hancock will give you cash for at least the first $5,000 on any
given business day. For the remaining checks, you may choose to:

(a) Receive a fully-negotiable bank check, which you can present at any banking institution anywhere in the country; or

(b) Cash them during the remaining validity term of the check with at least $5,000 in cash being made available at
Whitey/Hancock on any given business day; and

(c) If you are eligible, you can open a free checking account at Whimey/Hancock, so that you can cash the first $5,000 check
and deposit any remaining checks into a new bank account at Whimey/Hancock, which will also provide you with an
ATM card for cash withdrawal.

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March 1, 2012

RE: Determination Letter on Interim Payment/Final Payment Claim
amas
Claimant ID: Qian
Dear Claimant:

The Gulf Coast Claims Facility (the “GCCF”) is the official way for Individuals and Businesses to file claims for costs and
damages incurred as a result of the Deepwater Horizon Incident on April 20, 2010 (the “Oil Spill”). The GCCF and its Claims
Administrator, Kenneth R. Feinberg, act for and on behalf of BP Exploration & Production, Inc. (“BP”) in fulfilling BP’s statutory
obligations as a “responsible party” under the Oil Pollution Act of 1990 (“OPA”).

All Claimants have the right te consult with an attorney of their own choosing prior to accepting any settlement or
signing a release of legal rights.

You have filed one or more Claim Forms with the GCCF. This Determmation Letter (“Letter”) is an official notification
from the GCCF. This Letter addresses all the Claim Forms and documents that you have filed concerning the claims described
below. Ifyou filed more than one Claim Form or claims for businesses or activities on which you pay taxes using the same taxpayer
identification number (Social Security Number or Employer Identification Number , then we have combined all the claims for that
taxpayer identification number into one claim.

The GCCF has reviewed the Interim Payment and/or Full Review Final Payment Claim Form that you submitted. This
Letter informs you of the outcome of that review and describes your options now. Ifyou disagree with the GCCF’s decision on your
Interim Payment or Final Payment claim, you have the right to submit the claim to the National Pollution Funds Center (“NPFC”),
the Coast Guard office responsible for evaluating and approving OPA claims, or as an alternative you have the right to file a claim in
court, including in the multidistrict litigation pending before the United States District Court for the Eastern District of Louisiana,
titled, In re Oil Spill by the Oil Ris “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010 (MDL No. 2179). The
multidistrict litigation is a consolidated grouping of federal lawsuits ansing out of the Oil Spill. General information on the
procedure for filing a claim with the NPFC may be obtained from the Director of the National Pollution Funds Center, NPFC MS
7100, U.S. Coast Guard, 4200 Wilson Blvd., Suite 1000, Arlington, VA 20598-7100, (800) 280-7118, or from the NPFC website at
www.usce.mil/npfic/claims. Information regarding the multidistrict litigation may be obtained from the court’s website at
www-_laed_uscourts.cov.

GCCF 1002-BUS Gulf Coast Claims Facility Claimant ID:
Page 1 of 12 Claim Form ID: (aaa

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 4 of 14

L The Determination of Your Claim and Catculation of Losses.

You qualify for compensation from the GCCF. Attachment A to this Letter explains the amount, if any, that we are
paying to you now for an Interim Payment as well as an offer for a Final Payment (the “Final Payment Offer”), which is the
additional amount you can be paid now if you decide to accept the Final Payment Offer and sign a Release and Covenant Not to Sue
{the “Release”). The Release waives and releases any claims that you have or may have in the future against BP and all other
potentially responsible parties with regard to the Oil Spill, and prevents you from submitting any claim seeking payment from the
NPFC ora court. Attachments B and C to this Letter show you the periods of your documented losses based upon the records you
submitted. Attachment D shows you the periods where documents were missing (which means that we could not award you losses
for those periods).

UL. Your Interim Pavment.

Hf Attachment A shows that you are entitled to an Interim Payment, the GCCF will send you this payment without
i bu to release or give up any claims or t litigation rights. ‘This Interim Payment is for your past losses for
e period after April 20, 2010, anid up to the time of the last period for which you submitted records showmg your income or losses,

You may submit future Interim Payment Claim Forms along with the Required Documentation to. show damages caused ta
you by the Oil Spill. You may submit only one Interim Payment Claim Form during each calendar quarter (the calendar quarters are
Jan-Mar; April-Jme; July-September; and Oct-Dec). ‘You must submit a new Interim Payment Claim Form to seek payment for any
period beyond that covered by this Determination Letter. The GCCF will review only one claim for you for each quarter and
will evaluate ali of the supporting documentation that you have submitted through the date of that review. If you file another
quarterly Interim Payment Claim, the GCCF will review your claim and evaluate all newly submitted supporting documentation
since the review of your previous Interim Payment Claim and, if you prove additional losses caused by the Oil Spill, the GCCF will
issue you a new Determination Letter and send you payment for those additional past losses. Your new Determination Letter will

provide a Final Payment Offer that you will have 30 days to accept. All Final Payment Offers will be reduced by Interim Payments
and any other offsets.

I. Your Final Payment,

If you want to be paid the amount shown in your Final Payment Offer in Attachment A and fully resolve your entire claim

now, you can accept your Final Payment Offer. Your Final Payment Offer includes payment for all future damages to you as a
result of the Oil Spill, determined according to the Gulf Coast Claims Facility’s Final Rules Governing Payment Options, Eligibility
_and Substantiation Criteria, and Final Payment Methodology. Your Fimal Payment Offer is valid for 30 days after the date of this
Letter’. This Letter contains a Final Payment Election Form with a box for you to use to accept the Final Payment Offer and a space
for your signature. To accept your Final Payment Offer, check the box on the Final Payment Election Form indicating that you
accept your Final Payment Offer, sign it and return it to us no later than 30 days after the date of this Letter. We then will send you
a Release for you to sign and return to be paid the Final Payment Amount. We will send the Final Payment Amount to you within
14 days after receipt of a complete and properly signed Release. You must submit your original signature on the Release to us. We
will not accept faxes, scanned images or photocopies of your signed Release,

You may appeal a Final Payment Offer if your total monetary award (including any Emergency, Interim or Final Payments
made by BP or the GCCF) is in excess of $250,000. The appeal will be reviewed by a panel of three neutrals who will make an
independent determination of the claim’s value. BP will have the Tight to appeal to the panel of three neutrals if your total monetary
award Gncluding any Emergency, Interim or Final Payments made by BP or the GCCF) is $500,000 or more.

All claimants are entitled to request a Re-Review of a Final Payment Offer as described below in this Letter. The GCCF
has determined that when a claimant has filed a request for Re-Review of a Final Payment Offer, the fourteen (14) day deadline for
filing an appeal will run from the date of notification of the GCCF’s determination of the Re-Review. Ifa claimant does not file a

request for a Re-Review of a Final Payment Offer, the fourteen (14) day deadline for filing an appeal will rm from the date of
notification of the GCCF’s Final Determination.

PLEASE NOTE; If your total Final Payment Offer is in excess of $500,000, payment of your Final Amount will not be
made unti} the expiration of the 14~day period for the right of an appeal of your claim by BP. The expiration of the right of an
appeal is 14 days from the date of this Letter. For more information on the appeal process, visit the GCCF website at
www.onlicoastclaimsfacility.com.

' The GCCF may amend or withdraw this Final Payment Offer if the GCCF determines that the Final Payment Offer was the result of mistake or
fraud.

GCCF 1002-BUS . Gulf Coast Claims Facility
Page 2 of 12

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All Claimants have the right to consult with an attorney of their own choosing prior to accepting any setflement or
Signing a release of legal rights.

Ifyou are represented by a lawyer, you should discuss your rights with your lawyer before signing and returning the
Release. Ifyou would like to consult with an attomey but camnot afford one, free legal help is available for the GCCF Interim or
Final Claims Process, through a network of nonprofit civil legal service organizations in Alabama, Florida, Louisiana, Mississippi
and Texas. Information about this free assistance is available on the GCCF website, www.gulfeoastelaims facility.com.

Ifyou do not accept your Final Payment Offer, then you may choose to seek additional Interim Payments from the GCCF
or request a Re-Review of your Final Payment Offer, as described in this Letter.

IV. Deductions for Liens.

Your Interim Payment and Final Payment Offer are subject to deductions for any outstanding liens received by the GCCF
before we issue your payments, other deductions required by state or federal law or by any court order affecting GCCF payments. If
we have received a lien against your claim, Attachment E to this Letter provides details on that lien and how it affects your
payment or Final Payment Offer.

Y. Deductions for Court-Ordered Withholdings.

A. consolidated grouping of all federal lawsuits arising out of the Oil Spill is pending before the United States District Court
for the Eastern District of Louisiana (the “Court”). ‘This litigation is referred to as the “nmultidistrict litigation” or “MDL” and is
captioned In re Oil Spill by the Oil Rig “Deepwater Horizon” in the Gulf of Mexico, on April 20, 2010, MDL No. 2179. The Court
entered an Order on January 18, 2012, requiring the GCCF to withhold 6% from all Interim. Payments, Final Payments and Quick
Payments made after December 30, 2011, to any plaintiff with a lawsuit or short-form joinder in the MDL, a claim against
Transocean in its Limitation of Liability proceeding in the MOL ("Claimants in Limitation"), or state court plaintiffs represented by
counsel that had access to the MDL discovery process. The 6% hold-back does not apply to claimants who never had an MDL.
lawsuit, are not Claimants in Limitation against Transocean in the MDL, or state court plaintiffs whose counsel has not had access to
the MDL discovery process.

The 6% withholdings from GCCF payments will fimd a reserve account for possible awards of common benefit fees and
expenses to the Plaintiffs’ Steering Committee and other lead or liaison counsel for MDL plaintiffs. Attachment A to this Letter
shows the 6% hold-back amounts, if any, that apply to your claim. If you accept your Final Payment Offer, the GCCF will pay you
the amount of your Final Payment Offer, less the 6% hold-back if applicable and any other applicable deductions, in satisfaction of
the Release. As required by the Order, the GCCF will send the 6% hold-back amounts to the Clerk of the Court to be held in the
MDL No. 2179 Account and Reserve for Common Benefit Litigation Expenses and then to be paid as directed by the Court in future
orders. You may view a copy of the Court’s Order regarding this 6% withholding on the GCCF website,
www-culfcoasiclaimsfacility.com. . .

VL nest for Re-Review of Your Payment culations.

You may request a Re-Review of your claim if you believe that a miscalculation occurred or if you wish to submit some or
all of the missing documenitation identified on Attachment D. To request a Re-Review, you must complete the Re-Review Election
Form enclosed with this Letter and either mail it to us or submit it through the GCCF website, no later than 30 days after the date of
this Letter. You must identify in the Re-Review Election Form the reason(s) for your request and identify the documents that form
the basis of your request for a Re-Review. Only documents for the missing loss periods identified in Attachment D of this Letter
will be re-reviewed. If you wish to submit documents for review that provide information outside the missing loss periods identified
in Attachment D of this Letter, you must submit a new Interim Payment Claim Form. In accordance with the GCCF’s Final Rules
dated February 18, 2011, Interim Payment claims may be filed once each calendar quarter.

Within 30 days of receipt of your request for Re-Review of your claim, the GCCF will issue you a new Determination
Letter based upon the Re-Review. Your payment calculation and Final Offer could change or may be the same as those in this
Letter. If you submit any new documents within the naissing loss periods identified in Attachment D showing additional losses
caused by the Oil Spill, we will include those losses in your new Determination Letter.

GCCF 1002-BUS - Gulf Coast Claims Facility ’ Claimant ID:
Page 3 of 12 Claim Form ID:

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 6 of 14

VIL What t if You Hav.

If you have any questions about this Letter, you may call the GCCF Claims Review Specialist identified below who can
answer questions about your claim or this Letter. For TTY assistance call 1-866-682-1758. If you are represented by an attorney,
we will communicate directly with your attorney. If you have authorized a claims preparation firm to receive information on your
claim, the GCCF is mailing a copy of this Letter to that firm.

Your GCCF Claims Review Specialist is: Bethany 59533 at 1-800-353-1262.

Sincerely,

Ketel R.~Gaaker

Kenneth R. Feinberg
Claims Administrator

GCCF 1002-BUS Gulf Coast Claims Facility ClamantID:
Page 4 of 12 Claim Form ID: g

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 7 of 14

Methodology used to }2010: Projected revenue was calculated based on gross revenue for the corresponding months
calculate Projected in the prior vear
Revenues TB Ene PEIOF year.

2011: Projected revenue was calculated based on revenue for the corresponding months in the
prior year for January through April 2011. Projected revenue from May 2011 through the
most recent measurement month was based on 2010 projected revenue.

Loss of Income Percentage (LOI%) adjusts the calculated Lost Revenues to reflect saved or discontinned expenses (see Attachments B & C).

Additional Information from Accountant Reviewer:

SMAI ehadehe ica estiatst eects

is"

rake

se

1, {2010 Lost Profits

(2010 Lost Revenues multiplied by the LOI% in Attachment C to determine Lost Profits) $32,560.95
2 2011 Lost Profits (1111 through 3/30/31} $144,33
° (2011 First Quarter Lost Revenues multiplied by the LOI% in Attachment C to determine Lost Profits) .
“ [011 Lost Revenaes after 3/31/11 multiplied by the LOL% in Attachment B to determine Lost Profits) ue

es A

1. | Total Post-Spill Lost Profits (Sam of all rows in Section B) $49,824.92

Less Offsets: (The deductions for previous payments from BP or a Real Estate Fund shown below are
based on the most recent data the GCCF has received from those organizations, If the amount of the

2. {deduction below has changed from that shown ina previous Determination Letter sent to you, then the data
we received has changed since that previous letter. [If you feel that the deducted amount is ‘wrong, contact

us to explain the discrepancy.) ee
Payments by BP $26,850.00
Real Estate Fund Payment $0.00
GCCF Emergency Payments $50,000.00
GCCF Interim Payments $0.00
Unemployment Compensation $0.00
3. {Interim Payment Amount After Offsets $0.00
4. Accounting Preparation Expenses Incurred for the Assessment of Damages in Addition to $2.806.25
the Interim Payment Amount *
5. [Total Interim Payment Amount (Rows3 +4) - $2,306.25
6 [Less Deductions for Outstanding Liens (See Attachment E for details) $0.00
7. | Net Interim Payment Amount (Row 5 minus Row 6) $2,806.25
8. [Less Court-Ordered 6% Hold-Back for Common Benefit Reserve Account if Applicable $168.38
9. |Total Payment Sent With This Letter $2,637.87
GCCF 1002-BUS Gulf Coast Claims Facility Claimant 1D: 2a,

Page 5 of 12 Claim Form ID:

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 8 of 14

Final Payment Offer: 2010 Lost Profits of $32,560.95 multiplied by a Future Recovery Factor of 4.00
$130,245.80 less offsets shown in Sections C.2 and C.3 above. If your Total Post-Spill Lost Profits exceed the amount
of your calculated future damages of $130,243.80 you may continue to file Interim Claims for additional sustained
documented losses (which will be deducted from your Final Payment Offer). If your total payments exeted the amount
of your Final Payment Offer, your Final Payment Offer will be the minimum final offer amount of $25,000,

The GCCF calculates all of your losses based upon the financial records you have submitted. Ifthe calculation of this
claim ora later claim results in a determination of 2010 losses lower than that shown in a previous Determination Letter
sent to you, your Final Payment Offer (before offsets for prior payments) will remain the same as the Final Payment
Offer previously made to you. Remember, however, that this policy may change if, based upon a renewed evaluation of
available data regarding the recovery of the Gulf, the GCCF makes an adjustment to the Foture Recovery Factor.

$53,393.80

Less Deductions for Outstanding Liens (This amount is based on your current lien amount shown in
Attackment E less any amounts being withheld from any Interim Payment payable with this Letter. If your Interim or
Fimal Payment is insufficient to fully satisfy the lien amount, or the arnount of the lien increases between the time of
your Interim Payment and payment of your Final Payment Offer, or any additional Liens are received, then your Final
Payment Offer will be reduced by the then outstanding balance of the Hien(s)).

$0.00

Net Final Payment Offer (Row 1 minus Row 2)

$53,393.80

Less Court-Ordered 6% Hold-Back for Common Benefit Reserve Account if Applicable

$3,203.63

Total Final Payment with Accepted Final Offer and Submitted Release
If you wish to accept this Final Payment Offer, check the box in Section C of the Final Payment Election Form included

With this Letter and sign and return the Final Payment Election Form to the GCCF,

$50,190.17

GCCF 1002-BUS Gulf Coast Claims Facility Claimant ID: a
Page 6 of 12 Claim Form ID: §

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!

Claimant Nam Claimant Number |@

sie ele
Claimant Type een Zip Code

(ndividual or Business) |" of Loss

4

(2 |The GCCF has no information that this Claimant is represented by an attorney.

[“] |The GCCF has been informed that this Claimant is represented by the following attorney:
Attorney Name Law Firm
Street City State Zip

cn - -

Address

/ ef
Authorized Business Representative . Date (Month/Day/Year)
Name of Person Signing
(Print or Type) .
You can complete and send this Election Form to elect to be paid this Final Payment Offer using any of the following ways:
By Emailed PDF Attachment:
1. | Emailed no later than midnight your time on your Exaail to NoticesandOffers@sccf-clatms.com
deadline to respond)
Gulf Coast Claims Facility
2. | By Maik: Kenneth R. Feinberg, Administrator

(Postmarked no later than your deadline to respond) P.O, Box 9658
Dublin, OH 43017-4958

. . . a, [Gulf Coast Claims Facili
By Overnight, Certified or Registered Mail: [kenneth R. Feinberg, Administrator
3. | (Placed with the delivery service no later than your 5151 Blazer P Suite A

deadline to respond) Blazer Fkwy., Suite
Dublin, OA 43017-4958

4, |By Facsimile:

(Sent no later than your deadline to respond) 1-866-682-1772
. . . You can bring the materials to a GCCF Site Office no later than your
5. on eee Sit © Office: ) deadline. Visit www.ou Ifco2stclaimsfacility.com to see a list of Site
Offices, or call 1-800-916-4893 and ask for Site Office locations,
Online Election of Final Payment Offer: ‘You can accept your Final Payment Offer electronically by visiting the
6. (Completed no later than midnight your time for your GCCF website at www.gulfeoastclaimsfacility.com and accessing your
deadline to elect) claim status by clicking on the “Check Claim Status” tab.

GCCF 1002-BUS Gulf Coast Claims Facility ClaimantID: amen
Page 10 of 12 Claim Form ID; Same

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 10 of 14

Chimant Name

Address

Claimant Type
QGndivideal or Business) [©

Hesse ttae

REVIEW.

Fecati ee jertneernyn tap iieneie ieee trie

You rust complete Sections C.1 and C.2 below to identify the reason(s) for your Re-Review request and any new documentation
submitted to support your claim. Describe in detail each aspect of the Determination Letter with which you disagree and want
reevaluated, ‘You may attach additional sheets, if necessary.

C1 Select the reason(s) for your Re-Review request and explain why you disagree with the Determination Letter.
If you select “Other” then identify the particular issue with which you disagree:

C) Actual Pre-Spill Earnings/Revenues

[Bonus or Overtime Pay
C} Actual Post-Spill Eamings/Revenues C} incorrect Employer or Industry
Cl Projected Eamings/Revenues Methodology C) Prior Payment Deductions/Offsets
C} LO! Percentage Ci Accountant Preparation/Job-Secking Expenses
C] Missing Component of the Business OQ) Other
C} Switch from Individual to Business

Explanation:

C2 Identify any new or previously submitted documents that support the Re-Review request. You must ensure that
any new documents are submitted to the GCCF with this Re-Review Election Form.

SG NATURE: Area

Peversthier' tall leh teat

i?
fn — Date (Month/Day/Year)
Name of Person Signing
{Print or Type)
GCCF 1002-BUS Guif Coast Claims Facility Claimant ID:

Page 1] of 12 Claim Form ID:

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By Emailed PDF Attachment: . . .
1. | (Emailed no later than midnight your time on your deadline Email to NoticesandOffers@ecef-claims.com

to respond)

Gulf Coast Claims Facility
2. |By Mai: Kenneth R. Feinberg, Administrator
"  [@ostmarked no later than your deadline to respond) P.O. Box 9658
Dublin, OH 43017-4958
. . . ary, [Gulf Coast Claims Facility

By Overnight, Certified or Registered Mail: fx enneth R. Feinberg, Administrator
3. | @laced with the delivery service no later than your 5151 Bl Pkwy., Suite A

deadline to respond) . ”

Dublin, OH 43017-4958

By Facsimile: _

4. (Sent no later than your deadline to respond) 1-866-682-1772
. . You can bring the materials to a GCCF Site Office no later than your
5. dee GOCE Site Office: d deadline. Visit www-gulfcoastclaimsfzeility.com to see a list of Site
your deadline to respon Offices, or call 1-800-916-4893 and ask for Site Office locations.

Online Election of Re-Review Request: ‘You can submit this Re-Review Election Form electronically by visitng
6. | (Done no later than midnight your time for your deadline to|the GCCF website at Www.guifecastclatmsfacility.com and accessing

elect) your claim status by clicking on the “Check Claim Status” tab.

GCCF 1002-BUS Gulf Coast Claims Facility Claimant ID:
Page 12 of 12 Claim Form ID: &

Case 2:10-md-02179-CJB-DPC Document 6216-5 Filed 04/11/12 Page 12 of 14

April 2, 2012

RE: Deficiency Letter on Interim Payment/Final Payment Claim

Claimant ID:

Dear Claimant:

On March 8, 2012, the United States District Court Eastern District of Louisiana issued a First Amended Order Creating
Transition Process (the “Order”) in connection with an Agreement-in-Principle between BP Exploration and Production, Inc. and
BP America Production Company (collectively, “BP”) and the Interim Class Counsel (collectively, the “Parties”) to settle numerous
lawsuits arising out of the Deepwater Horizon Oil Spill (the “Oil Spill”). The Order appointed a Claims Administrator and a
Transition Coordinator to oversee a Transition Process. The Transition Process continues to process claims previously received by
the GCCF and will receive new claims until a new Court Supervised Settlement Program is established. In the Transition Process,
claims are reviewed under the current GCCF rules, as amended by the Order. You may view a copy of the Court’s Order by

visitng the GCCF’s website at www.gulfcoastclaimsfacility.com.

All claimants have the right to consult with an attorney of their own choosing prior te accepting any settlement or
signing a release of legal rights.

You have filed one or more Claim Forms with the GCCF. This Deficiency Letter (“Letter”) is an official notification from
the GCCF. This Letter addresses all the Claim Forms and documents that you have filed concerning the claims described below. If
you filed more than one Claim Form or claims for businesses or activities on which you pay taxes using the same taxpayer
identification number (Social Security Number or Employer Identification Number), then we have combined all the claims for that
taxpayer identification number into one claim.

We have reviewed the Claim Form(s) that you submitted and determined that your file is missing information that is
necessary for the review of your claim. We cannot take any further action on your claim until you provide the following:

Gulf Coast Claims Facility Claimant ID: amar
GCCF 2004 Page 1 of 3 Claim Form ID: Sama

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Type of Claim You
Submitted

Why We Need the Missing Information

What You Need to Submit

Lost Earmings and
Profits

You filed a claim seeking compensation for lost
profits, but have not submitted your entire federal
tax return for 2010,

You must submit a true and complete copy of your
federal Form 1120, 1120S, 1065, a Form 1040 with
any schedule deducting expenses, or 990 income
tax return for 2010, including all forms, schedules
and attachments filed with the return, as well as any
amendments to the return you have filed. If you
filed a Form 1040 as a joint return with your
spouse, you must submit documents that show
which of the income reported on the retum was
earned by your spouse, such as the spouse’s W-2 or
1099 forms. The copy of the return does not have
to be signed, but does have to be complete and a
true copy of the return as filed with the IRS. If you
cannot obtain a copy of the return you can submit a
Tax Transcript of all forms, schedules and
attachments filed with the return, which is prepared
by the IRS to show all the information from your
return.

Submit these documents within 30 days after the date of this Letter. You can send us documents in any one of the

following ways:

By Emailed PDF Attachment:

1. |(Emailed no later than 30 days after the date of this [Email to info@gccf-claims.com
Letter)
By Mail: Gulf Coast Claims Facility

2. |(Postmarked no later than 30 days after the date of — |P.0. Box 9658

this Letter)

Dublin, OH 43017-4958

By Overnight, Certified or Registered Mail:
3. |(Placed with the delivery service no later than 30 days
after the date of this Letter)

Gulf Coast Claims Facility
5151 Blazer Pkwy., Suite A
Dublin, OH 43017

By Facsimile:

(Sent no later than 30 days after the date of this
Letter)

1-866-682-1772

Visit a GCCF Site Office:
(No later than 30 days after the date of this Letter)

You can bring the documents to a GCCF Site Office no
later than 30 days after the date of this Letter. Visit the
GCCF website at www.gulfcoastclaimsfacility.com to
see a list of Site Offices, or call 1-800-916-4893 and
ask for Site Office locations.

GCCF 2004

IMPORTANT NOTE: Make sure that you write your Claimant Identification Number (shown above) and your Social

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Gulf Coast Claims Facility

Security Number or Taxpayer ID on each page of each document that you submit, so that the GCCF can properly attach your
documents to your claim. Otherwise, if the documents get separated, we cannot always determine to which claimant they belong.

Claimant ID: eee
Claim Form ID: gee

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If any claim listed above has been denied and you disagree with the GCCF’s decision on your claim, you have the right to
submit the claim to the National Pollution Funds Center (“NPFC”), the Coast Guard office responsible for evaluating and approving
OPA claims, or as an alternative you may exercise any other legal right you may have. General information on the procedure for
filing a claim with the NPFC may be obtained from the Director of the National Pollution Funds Center, NPFC MS 7100, U.S.
Coast Guard, 4200 Wilson Blvd., Suite 1000, Arlington, VA 20598-7100, (800) 280-7118, or from the NPFC website at
www.useg.mil/npfe/claims.

Ifyou have any questions about this Letter, you may call the GCCF Claims Review Specialist identified below who can
answer questions about your claim or this Letter. For TTY assistance, call 1-866-682-1758. If you are represented by an attorney,
the GCCF will communicate directly with your attorney. If you have authorized a claims preparation firm to receive information on
your claim, the GCCF is mailing a copy of this Letter to that firm.

Your GCCF Claims Review Specialist is: Molly 59078 at 1-800-353-1262.

Sincerely,

Transition Coordinator

Gulf Coast Claims Facility Claimant ID: Ta
GCCF 2004 Page 3 of 3 Claim Form ID: @aaR

